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                Exhibit 2
                    Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 2 of 37


Mitchell Nobel

From:                     Greenfield, Elliot <egreenfield@debevoise.com>
Sent:                     Thursday, July 14, 2022 5:59 PM
To:                       'Maya Jumper'; Niraj Thakker
Cc:                       Tether Litigation; Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie;
                          Schlegelmilch, Stephan J; sahuja@dmablaw.com; cbeal@dmablaw.com; michael@mjllaw.com; Bill
                          Kraus; Rosh, Samuel; Hahn, Ashley V.
Subject:                  RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236
Attachments:              Discovery Ltr to K Roche 7-14-22 with attachment.pdf



[EXTERNAL SENDER]

Maya,

Please see attached and let us know if you would like to discuss.

Thanks,
Elliot




Elliot Greenfield
Partner
egreenfield@debevoise.com
+1 212 909 6772 (Tel)
919 Third Avenue
New York, NY 10022
www.debevoise.com


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mail or otherwise. Instead, please notify us immediately by return e-mail (including the original message in your reply) and by telephone (you may call us
collect in New York at 1-212-909-6000) and then delete and discard all copies of the e-mail. Thank you.



From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Tuesday, July 12, 2022 16:00
To: Niraj Thakker; Greenfield, Elliot
Cc: Tether Litigation; Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie; Schlegelmilch, Stephan
J; sahuja@dmablaw.com; cbeal@dmablaw.com; michael@mjllaw.com; Bill Kraus; Rosh, Samuel; Hahn, Ashley V.
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Elliot,

We ask that you provide the B/T Defendants’ position in response to Sections I & II of Plaintiffs’ July 7, 2022 letter by
Thursday, July 14, 2022 in order to advance the discovery process. Should disputes remain with respect to Section III of
the letter, we are available to meet and confer later this week.

Thanks,

Maya S. Jumper

                                                                            1
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Associate
Roche Freedman LLP
99 Park Avenue, Suite 1910
New York, New York 10016
(t) (646) 970-7524
(@) mjumper@rochefreedman.com


From: Niraj Thakker <nthakker@rochefreedman.com>
Date: Thursday, July 7, 2022 at 6:09 PM
To: Greenfield, Elliot <egreenfield@debevoise.com>
Cc: Maya Jumper <mjumper@rochefreedman.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>, Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper,
Michael <mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J <sjschlegelmilch@debevoise.com>,
sahuja@dmablaw.com <sahuja@dmablaw.com>, cbeal@dmablaw.com <cbeal@dmablaw.com>,
michael@mjllaw.com <michael@mjllaw.com>, Bill Kraus <krausw@butzel.com>, Rosh, Samuel
<sjrosh@debevoise.com>, Hahn, Ashley V. <avhahn@debevoise.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

Counsel:

Please see attached.

Thank you,
Niraj Thakker

From: Daniel Stone <dstone@rochefreedman.com>
Sent: Wednesday, July 6, 2022 2:19 PM
To: Greenfield, Elliot <egreenfield@debevoise.com>
Cc: Maya Jumper <mjumper@rochefreedman.com>; Tether Litigation <Tether_Litigation@rochefreedman.com>;
Ceresney, Andrew J. <aceresney@debevoise.com>; Schaper, Michael <mschaper@debevoise.com>; O'Connor, Maeve
<mloconnor@debevoise.com>; Burke, Melanie <mburke@debevoise.com>; Schlegelmilch, Stephan J
<sjschlegelmilch@debevoise.com>; sahuja@dmablaw.com; cbeal@dmablaw.com; michael@mjllaw.com; Bill Kraus
<krausw@butzel.com>; Rosh, Samuel <sjrosh@debevoise.com>; Hahn, Ashley V. <avhahn@debevoise.com>
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

Hi Elliot,

We are available any time after noon on Friday. Please circulate a dial‐in for a time that works on your end.

Thanks,

Daniel M. Stone
Associate
Roche Freedman LLP
99 Park Avenue, 19th Floor
New York, NY 10016
(t) (646) 506-9375
(m) (203) 962-2885
(@) dstone@rochefreedman.com



                                                             2
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From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Tuesday, July 5, 2022 at 3:03 PM
To: Daniel Stone <dstone@rochefreedman.com>
Cc: Maya Jumper <mjumper@rochefreedman.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>, Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper,
Michael <mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J <sjschlegelmilch@debevoise.com>,
sahuja@dmablaw.com <sahuja@dmablaw.com>, cbeal@dmablaw.com <cbeal@dmablaw.com>,
michael@mjllaw.com <michael@mjllaw.com>, Bill Kraus <krausw@butzel.com>, Rosh, Samuel
<sjrosh@debevoise.com>, Hahn, Ashley V. <avhahn@debevoise.com>
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

Thanks, Dan. Are you free for a call on Thursday or Friday to discuss? I don’t think we need the full team for this.

Thanks,
Elliot

Sent from my iPhone


          On Jul 1, 2022, at 3:21 PM, Daniel Stone <dstone@rochefreedman.com> wrote:


          Elliot,

          Below is the table we discussed on our last meet and confer. As we noted at that time, the search terms
          in green are those which you have already agreed to run hit reports for, the terms in blue are those that
          we continue to assert need to be run for hits, and the ones in red are those that we are currently not
          continuing to pursue, but without prejudice to our seeking hit reports on those later in discovery. Also,
          as noted during our meet and confers, we provide RFPs to which each search term is related (including,
          at your request, RFPs for the green terms that you had already consented to running a hit report for). As
          we discussed, the search terms were not drafted using the language of the RFPs, because the exercise of
          trying to divine what search terms will yield responsive documents is necessarily both narrower and
          broader than describing the documents to be produced. Additionally, as we discussed, this table should
          not be used in reviewing documents because even if a document “hits” on a search term for one RFP,
          but a review shows it is only responsive to another RFP, Defendants are still obligated to produce the
          document.

          Please respond by CoB Tuesday to let us know if you will run the hit reports for the searches below.

          Have a happy holiday weekend.


           Search Term                                                 Responsive RFPs
           audit w/10 Tether                                           RFP No. 11
           Tether w/10 transparency                                    RFP No. 26

           "conflict of interest" or "conflicts of interest"           RFP No. 34

                                                               3
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(2016 w/15 hack* OR theft* OR unauthorize* OR
transfer* OR stolen) and (reserve* OR redem* or   RFP No. 35
redeem*)
"ABT & Trust"                                     RFP No. 31
260011499                                         RFP No. 31
"Bank of America" OR BofA                         RFP No. 31
898100395306                                      RFP No. 31
"Bank of Colorado"                                RFP No. 31
5701063413                                        RFP No. 31
"Bank of Montreal"                                RFP No. 31

"Bank of New York Mellon" OR "BNY Mellon"         RFP No. 31

BnkToTheFuture OR "Bnk to the Future"             RFP No. 31

"Bank of Communications"                          RFP No. 31
"Banco Portuges de Investimento"                  RFP No. 31
"Bank of the Philippine Islands"                  RFP No. 31
2-5486163.306.001                                 RFP No. 31
Spoldzielczy                                      RFP No. 31
Kaohsiung                                         RFP No. 31
230510006385 OR 230509006380                      RFP No. 31
Bankinter                                         RFP No. 31
Caixa                                             RFP No. 31

0216076478170 OR 0216076477370 OR
0216076476570 OR 0786071416230 OR                 RFP No. 31
0786071414070
OR 0216076111170 OR 0216075956230 OR
0216076490070

"Canadian Imperial Bank of Commerce" OR CIBC      RFP No. 31



"CC001006882 5108411" OR "CC001006882
0374016" OR "CC001099702 4464710" OR
                                                  RFP No. 31
"CC001099702 4113411" OR "CC001099702
4097513" OR "CC001099702 4210719"


Cathay                                            RFP No. 31
33087700408                                       RFP No. 31
Citibank OR Citi                                  RFP No. 31

                                           4
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207112962 OR 207129503 OR 207132333 OR
206618910 OR 207139809 OR 207139817 OR
207134933 OR 207132325 OR 207134958 OR         RFP No. 31
42024768923 OR 42001787749 OR 42024769061
OR 57457749 OR 9945530933 OR 207108689



Deltec                                         RFP No. 31
"Deutsche Bank"                                RFP No. 31

DE78660700240057016801 OR
                                               RFP No. 31
DE51660700240057016802 OR 192057016802

"Enterprise Bank"                              RFP No. 31



                                            RFP No. 31
1127548 OR 1241367 OR 1127564 OR 1127177 OR
1127193 OR 1128700 OR 1128727 OR 1127599 OR
1235784 OR 1127652 OR 1127644
"First Commercial Bank"                     RFP No. 31
20386001075                                 RFP No. 31
Hwatai                                      RFP No. 31
3366000005573                               RFP No. 31

"HSBC Bank" OR "HSBC Securities" OR Pershing   RFP No. 31

861668 OR 141000147                            RFP No. 31
ING                                            RFP No. 31

"JP Morgan Chase" OR JPMC OR Chase             RFP No. 31

296219550 OR 779558365                         RFP No. 31
KGI                                            RFP No. 31
018580071208                                   RFP No. 31
"Metropolitan Bank"                            RFP No. 31
"Noble Bank"                                   RFP No. 31
"Pekao Bank"                                   RFP No. 31
"Sackville Bank and Trust"                     RFP No. 31
Santander                                      RFP No. 31
00080753 OR 10379431 OR 10446319 OR
                                               RFP No. 31
10446322
"Shanghai Pudong Development"                  RFP No. 31
                                        5
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"Signature Bank"                                   RFP No. 31
"Stearns Bank"                                     RFP No. 31
"Sun Trust"                                        RFP No. 31

810455498 OR 209364251 OR 1000211769301            RFP No. 31

"Shin Kong"                                        RFP No. 31
0499128110518                                      RFP No. 31
Taishin                                            RFP No. 31
068760022865                                       RFP No. 31

TCA Investment Bancorp & Trust Company             RFP No. 31

"TD Bank"                                          RFP No. 31
4350649188                                         RFP No. 31
"US Bank"                                          RFP No. 31
"Wells Fargo" OR WF                                RFP No. 31
2514680467                                         RFP No. 31
"@bitfinexed"                                      RFP No. 35, 48
"Authorized Tokens"                                RFP No. 7
"bank account" w/5 (Tether or USDT)                RFP No. 31
"Bitcoin Management Solutions"                     RFP No. 47
"Capital International"                            N/A
"Capital Treasury"                                 N/A
"Celsius Network" or Celsius w/5 (invest* or
                                                   RFP No. 69
investment*)
"Ching Shan"                                       N/A

"Crypto Capital" OR "Crypto SP. Z.O.O." or
                                                   RFP Nos. 10, 27, 30
"Crypto SP ZOO" OR "Global Trading Solutions"

"Data Nest"                                        N/A

"don't have enough" w/5 (Tether OR USDT)           RFP No. 15

"El Salvador" OR Salvadoran                        N/A
"Eligible Contract"                                N/A
"End of month" or EOM                              RFP Nos. 11, 12, 13, 14, 15
                                                   RFP Nos. 11, 12, 18, 19, 56,
"Flash Crash"
                                                   63
"Friedman LLP"                                     RFP No. 48
"Galaxy Benchmark"                                 RFP No. 36
"Galaxy Digital"                                   RFP No. 36
"Global trading"                                   RFP No. 27
                                               6
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"Global Transaction Services"                       N/A
"Hong Kong"                                         N/A
"Julius Baer"                                       N/A
"Jump Trading"                                      RFP No. 51
"Master Fund LP"                                    RFP No. 36
"Mega International"                                RFP Nos. 3, 14, 31, 32
"Mt. Gox"                                           RFP No. 56
"new Tether"                                        N/A
"Noble Markets"                                     RFP No. 40
"not 1:1"                                           RFP Nos. 7, 14, 15
"not enough" w/5 (tether or USDT)                   RFP Nos. 7, 14, 15
"not tethered" OR un-tethered                       RFP No. 54
"Paradise Papers"                                   RFP No. 52
"Paycase Financial"                                 N/A
"Potter Ventures"                                   RFP No. 47
"Price differential"                                N/A
"price wall"                                        N/A
"Prosperity Revenue Merchandising"                  N/A
"Quantifying the Effect of Tether"                  RFP No. 53
"Schneider Wallace"                                 N/A
"Selendy" OR SG OR SGE                              N/A
"Shyft Network"                                     RFP No. 43
"Smart Property Solutions"                          RFP No. 46

                                                    RFP Nos. 5, 7, 13
("Tether Authorizer" OR Tether) w/5 authorization
"Tether Report"                                     RFP No. 53
("USDT" w/5 (equal* OR equat*)) w/15 (USD OR
                                                    RFP Nos. 7, 14, 15
dollar*)
                                                    RFP Nos. 11, 12, 13,16, 17,
"USDT/USD" w/5 “trading pair”
                                                    18, 19
"Virgin Islands"                                    N/A

("White paper" w/15 ("USDT" OR Tether OR
token*)) w/15 (equat* OR back* OR equal* OR hold
                                                 RFP Nos. 3, 5, 14, 31, 32
OR dollar* OR bank* OR account* OR fiat OR
currenc* OR reserve* OR cash)

"Willy Report" OR "WillyBot"                        RFP No. 56
“Article 78”                                        N/A
“Bitcoin Really Un-Tethered”                        RFP No. 54
“bitcoin”                                           N/A
                                             7
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“cat and mouse”                                      RFP 10, 12, 31, 47, 66,
“company fund*”                                      N/A
“Crypto Capital”                                     RFP Nos. 10, 27, 30
“fully back*” and “fully-back*”                      RFP Nos. 7, 14, 15
“Global Trade Solutions” or GTS*                     RFP Nos. 27, 60
“investor relation*”                                 N/A
“not backed”                                         RFP Nos. 7, 14, 15
“price floor”                                        RFP Nos. 18, 19, 56
“private address*”                                   RFP Nos. 37, 63
“realcoin*”                                          N/A
“Smart Property Solutions” or SPS*                   RFP No. 46
("Class action" OR lawsuit) w/5 (Leibowitz OR
                                                     N/A
Goldshtein OR Tether)

("Off exchange" OR "off-exchange" OR private OR
"over-the-counter" or "over the counter" or “OTC”)
                                                     RFP No. 24
w/5 (transaction* OR arrangement* OR platform*
OR exchange*)


("Treasury wallet*" OR "Tether treasury" ) w/15
                                                     RFP Nos. 72, 74
Bitfinex w/15 (Tether OR "USDT")


(“1:1” OR “one to one”) w/15 (Stablecoin OR
                                                     RFP Nos. 7, 14, 15
"Stable coin" OR token OR “USDT” OR Tether)


(“Know Your Customer” OR "know-your-customer"
OR KYC OR "anti-money laundering" OR AML)
                                                     RFP No. 66
w/15 (polic* OR procedur* OR complian* OR train
OR Manual OR Notice)


((Account* OR Track* OR monitor* OR
maintain*) w/15 (“USDT” OR Tether)) w/15
(dollar* OR bank* OR account* OR fiat OR             RFP Nos. 12, 14, 15
currenc* OR valu* ORreserve* OR balance OR
"commercial paper*")


(Account* OR Track* OR monitor* OR maintain*)
w/15 (“USDT” OR Tether) w/15 (issu* OR redeem*       RFP Nos. 12, 14, 15
OR redemption*)



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(Agreement* OR contract*) w/25 (Bittrex OR Polo!)    RFP No. 60

Urriola OR (Ana w/2 Pan)                             RFP No. 39
((Bolivar w/2 Jose) w/2 Gonzalez) OR (Bolivar w/2
                                                     RFP No. 39
Gonzalez)
(Bump* OR Crash* OR Drop* OR Jump* OR
Spike* OR Floor) w/15 (price OR value OR Bitcoin     RFP No. 18, 19, 56, 63
OR BTC)
(Burn* OR giv* OR destroy*) w/15 ("USDT" OR
                                                     RFP Nos. 6, 11
Tether OR token)
(Data OR email) w/5 host* w/15 (polic* OR
procedur* OR complian* OR train* OR Manual OR        RFP No. 68
Notice)

(Document OR email) w/5 (retain or retention) w/15
(polic* OR procedur* OR complian* OR train* OR       RFP No. 77
Manual)


(Investigat* OR inquir* OR Finding* OR report*
OR case* OR audit*) w/15 ("New York AG" OR
"New York Attorney General" OR "NY Attorney
General" OR NYAG OR “NY AG” OR                 RFP Nos. 1, 2
"Commodities Futures Trading Commission" OR
CFTC OR (Dep* w/2 Justice) OR DOJ or "Exchange
Commission" OR SEC



(Guarant* OR promis* OR assur*) w/15 (“1:1” OR
“one to one” OR “1-1” OR tethered OR redeem* OR      RFP Nos. 7, 14, 15
exchang*)


(Hamid w/2 Reza) OR (Hamid w/2 Khoyi)                RFP No. 46


(Inflat* OR capitaliz* OR spik* OR manipulat* OR
stabiliz* OR floor OR return* OR Solven* OR
                                                     RFP No. 18
use*) w/15 (bitcoin OR demand OR market* OR
customer* OR price* OR valu*)

(Ivan w/2 (Manuel OR Molina OR Lee)                  RFP No. 39

(mov* OR manipulat*) w/10 (price OR Market)          RFP No. 18



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(Print* OR issu* OR creat*) w/15 ("USDT" OR
                                                    RFP Nos. 4, 5, 59, 61, 62
Tether OR token)

(Raise* OR request*) w/5 (prospectus* OR "private
                                                    RFP Nos. 70, 71
placement" OR PPM OR solicit* OR invest*)

(Redeem* OR redempt*) w/10 ("USDT" or Tether
                                                    RFP No. 6
OR token)


(Stablecoin OR "Stable coin" OR token OR “USDT”
OR Tether) w/15 (equat* OR back* OR equal* OR
                                                  RFP Nos. 16, 17, 18
hold*) w/25 (dollar* OR bank* OR account* OR fiat
OR currenc* OR valu* OR reserve*)



(support w/3 price) w/3 (bitcoin OR BTC)            RFP No. 63


((Tether OR Bitfinex OR Digfinex) w/15 ("Crypto
Capital" OR "Global Trade Solutions")) w/25
                                                    RFP No. 27
reserve* process* OR operat* OR manag*) OR
transact* OR fiat* OR currenc*


(time OR Coordinat*) w/10 (mint* OR issu* OR
                                             RFP No. 63
Poloniex OR Bittrex OR Reggie OR Fowler)



((Track* OR monitor* OR maintain*) w/15 (polic*
OR procedur* OR process* OR “manual process”))
                                                    RFP Nos. 12, 14, 15
w/15 ("USDT" OR Tether OR reserv* OR account*
OR issu* OR redeem* OR mint*)


(USDT OR Tether) w/5 address* w/15 (Omni OR
Eth* OR Tron OR EOS OR Liquid* OR Algo* OR          RFP No. 21
SLP OR Sol*)
@bitfinex                                           RFP No. 20, 35, 48
@brockpierce                                        RFP No. 50
1-to-1*                                             RFP Nos. 7, 14, 15

12cgpFdJViXbwHbhrA3TuW1EGnL25Zqc3P                  RFP No. 28

13vHWR3iLsHeYwT42RnuKYNBoVPrKKZgRv                  RFP No. 28



                                           10
       Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 12 of 37

15ovrfyRTbhqeUkgAqAwtscXDASmietmcJ            RFP No. 28

16tg2RJuEPtZooy18Wxn2me2RhUdC94N7r            RFP No. 28

17A16QmavnUfCW11DAApiJxp7ARnxN5pGX            RFP No. 28

17sHnqeQcwvfPneJkmaTBAQEnQN82yi7ye            RFP No. 28

19-cv-09236*                                  RFP Nos. 16, 17, 18, 19
19-mc-00022*                                  RFP No. 3

1A6yDZj1241qtGzEeQWRaptxVEhzz5owLP            RFP No. 28

1A9AUhKv6aLrKGAdwMM9aHXECZM9uQivZK            RFP No. 28

1AA6                                          RFP No. 28

1AA6iP6hrZfYiacfzb3VS5JoyKeZZBEYRW            RFP No. 28

1AanEM2PU6GS7krwxaysKP3scwb3fdioyE            RFP No. 28

1CEZ4sjk7MUt3LSJi7bRvvbMZvGLWKCa1G            RFP No. 28

1Co1dhYDeF76DQyEyj4B5JdXF9J7TtfWWE            RFP No. 28

1DEcTtkrbdXxS1wbrMvzub5X4VpByYmAwo            RFP No. 28

1DUb2YYbQA1jjaNYzVXLZ7ZioEhLXtbUru            RFP No. 28

1F6nNgCTLcR4abWuMs1CHUWYNcnJ47tvbc            RFP No. 28

1Fdz3iQDDA6mJVoAV4ZcqgVFe1MX97EZoD            RFP No. 28

1G6jMfQotd6rV8VkMFNx4hPXYHioeBdquf            RFP No. 28

1GjgKbj69hDB7YPQF9KwPEy274jLzBKVLh            RFP No. 28

1H48Bp7EGELgnGSVYKdiCuSo6n822mVmHg            RFP No. 28

1Hi1hyJpUeETGBTQ8aPZ69GBL8xBVV53XP            RFP No. 28

1J1d                                          RFP No. 28
                                       11
    Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 13 of 37

1J1dCYzS5EerUuJCJ6iJYVPytCMVLXrgM9           RFP No. 28

1J8fgfPwn4dsxLiA5BnUkzHoubPJ6q5q8g           RFP No. 28

1KBXtTQnEgU34xXchwvmAoX7o5qZAp3xF            RFP No. 28

1Kr6QSydW9bFQG1mXiPNNu6WpJGmUa9i1g           RFP No. 28

1KYiKJEfdJtap9QX2v9BXJMpz2SfU4pgZw           RFP No. 28

1LJjvsEN9ZzeBVPB4XbhS7mxg99gBAPoMB           RFP No. 28

1LSgEKji3ZoGdvzBgkcJMej74iBd38fySb           RFP No. 28

1MZAayfFJ9Kki2csoYjFVRKHFFSkdoMLtX           RFP No. 28

1N52wHoVR79PMDishab2XmRHsbekCdGquK           RFP No. 28

1NTMakcgVwQpMdGxRQnFKyb3G1FAJysSfz           RFP No. 28

1NUyryQe1cQYmqg5bjwWNFXA8T1M6htSQ            RFP No. 28

1PCwER7f57fkPq2kuR9rYV7Wpr1LYvFWsA           RFP No. 28

1Po1oWkD2LmodfkBYiAktwh76vkF93LKnh           RFP No. 28

20-mc-00063*                                 N/A
20-mc-00446*                                 N/A
20-mi-00042*                                 N/A
20-ms-00033*                                 N/A

3BbDtxBSjgfTRxaBUgR2JACWRukLKtZdiQ           RFP No. 28

3D2oetdNuZUqQHPJmcMDDHYoqkyNVsFk9r           RFP No. 28

3MbYQMMmSkC3AgWkj9FMo5LsPTW1zBTwXL RFP No. 28

Adam w/2 Chamely                             N/A
agree w/15 (flow OR USDT OR Tether OR mint* OR
issu* OR Poloniex OR Bittrex OR Reggie OR RFP Nos. 7, 11, 14, 15
Fowler)

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AML                                               N/A
Amy w/2 Churchill                                 N/A
Anti-money                                        N/A
Arbitrage                                         RFP No. 28
Aron w/2 Camponovo                                N/A

Artific* /15 (Bitcoin OR Bitcoin Cash OR BTC OR
Omni OR Eth* OR Tron OR EOS OR Liquid* OR
                                                RFP Nos. 4, 5, 21, 59, 61, 62
Algo* OR SLP OR Sol* OR Tether! OR USDT OR
drop! OR crash!)

Audit*                                            N/A
Back w/5 (tether or USDT)                         RFP Nos. 7, 11, 14, 15
Backfill*                                         N/A
[Name of "Anonymous Trader]                       RFP No. 28
Betts                                             RFP Nos. 31, 40
Binance                                           N/A
Bitcointalk*                                      N/A
(Bitfinex w/5 print*) w/5 Tether                  RFP Nos. 4, 61, 62, 64
Bitfinex'ed                                       N/A
Bitlicense                                        N/A
                                                  RFP Nos. 9, 61, 62, 63, 64,
Bittrex                                           65
Bjorn w/3 Wolf                                    N/A
Bloat*                                            N/A
Blockchain.com                                    N/A
Blockchain.info*                                  N/A
Brock                                             N/A
Brock w/2 Pierce                                  RFP No. 50

Bubble w/15 (bitcoin OR market OR price)          RFP No. 63

Bybit                                             N/A
call w/3 (me OR you)                              RFP 18, 60

Catastroph* w/15 (Bitcoin OR BTC OR Omni OR
Eth* OR Tron OR EOS OR Liquid* OR Algo* OR
                                            RFP No. 21
SLP OR Sol* OR Tether* OR USDT OR drop* OR
crash*)

CC                                                N/A
CCC                                               N/A
CEA                                               N/A
                                           13
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CFTC                                                 N/A
(Chris w/2 Ellis) AND (Tweet or twitter OR warrant
                                                     RFP No. 49
OR subpoena)
CoinAPI                                              N/A
Coinbase                                             N/A
Coindesk                                             N/A
CoinDesk*                                            N/A
Coinmarketcap.com*                                   N/A
Commingl*                                            N/A
Commission*                                          N/A
Conspir* w/10 (Tether* OR USDT)                      RFP No. 60
Conspir* and (Bitcoin OR BTC OR Omni OR Eth*
OR Tron OR EOS OR Liquid* OR Algo* OR SLP RFP No. 21
OR Sol*)

Control* w/15 (pric* OR BTC OR bitcoin OR flow RFP Nos. 21, 22, 23, 24, 25,
OR Demand OR Market)                           72, 74


Control* w/15 Bitfinex w/15 (Tether OR "USDT")       N/A

Crash* w/10 (Tether* OR USDT)                        RFP No. 63
Crash* /15 (Bitcoin OR BTC OR Omni OR Eth* OR
Tron OR EOS OR Liquid* OR Algo* OR SLP OR RFP No. 63
Sol*)
Crypto.com                                           N/A
Crypto* w/15 future*                                 RFP Nos. 12, 17
CryptoCapital                                        RFP Nos. 10, 27, 30
D'Amico                                              RFP No. 31
Daniel w/2 Barrs                                     RFP No. 44
Dash*                                                N/A
Debas* w/15 (Bitcoin OR BTC OR Omni OR Eth*
OR Tron OR EOS OR Liquid* OR Algo* OR SLP RFP Nos. 21, 63
OR Sol*)
Debas* w/10 (Tether* OR USDT)                        RFP Nos. 21, 63

Deceit* w/15 (executive* OR CEO OR director* OR
CFO OR Velde OR Ardoino OR Devasini OR RFP No. 8
Warrack OR Bitfinex* OR Potter)

Declin* w/10 (Tether* OR USDT)                       RFP Nos. 21, 63



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Declin* w/15 (Bitcoin OR BTC OR Omni OR Eth*
OR Tron OR EOS OR Liquid* OR Algo* OR SLP RFP Nos. 21, 63
OR Sol*)
Defraud*                                           N/A
Delist*                                            N/A
Demand* w/10 (Tether* OR USDT)                     RFP Nos. 21, 63
Demand* w/15 (Bitcoin OR BTC OR Omni OR Eth*
OR Tron OR EOS OR Liquid* OR artificial or RFP Nos. 21, 63
appearance)
Destroy* OR Destruct*                              N/A
DFS                                                N/A

Disconnect* w/15 (Supply OR Demand)                RFP No. 18, 19, 56, 63

disrupt* w/10 (Tether* OR USDT)                    RFP No. 18, 19, 56, 63
disrupt* w/15 (Bitcoin OR BTC OR Omni OR Eth*
OR Tron OR EOS OR Liquid* OR Algo* OR SLP RFP Nos. 21, 63
OR Sol*)
DOJ                                                N/A
Downturn* w/10 (Tether* OR USDT)                   RFP Nos. 21, 63

Downturn* w/15 (Price OR Demand OR Bitcoin OR
BTC OR Omni OR Eth* OR Tron OR EOS OR RFP Nos. 21, 63
Liquid* OR Algo* OR SLP OR Sol* )

Drop* w/10 (Tether* OR USDT)                       RFP Nos. 21, 63

Drop* /15 (Price OR Demand OR Bitcoin OR Bitcoin
Cash OR BTC OR Omni OR Eth* OR Tron OR EOS RFP Nos. 21, 63
OR Liquid* OR Algo* OR SLP OR Sol*)


Epay* /15 (Bitcoin OR Bitcoin Cash OR BTC OR
Omni OR Eth* OR Tron OR EOS OR Liquid* OR
                                             RFP Nos. 21, 63
Algo* OR SLP OR Sol* OR Tether! OR USDT OR
drop! OR crash!)

Ethereum* AND USDT                                 RFP Nos. 21, 63
EURT*                                              RFP Nos. 21, 22, 23

Fals* w/15 (supply OR demand OR signal)            RFP No. 18, 19, 56, 63

Fangorn                                            RFP No. 47
Fines /15 (regulat* or FTC or "Attorney General" or
                                                    N/A
CFTC)

                                          15
     Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 17 of 37

Fowler*                                            RFP No. 10
Fraud* AND USDT                                    RFP Nos. 7, 11, 14, 15
Freeh w/2 Sporkin                                  RFP No. 57
FTX                                                N/A
Gemini                                             N/A
Gerald w/2 Martinez                                N/A
Giancarlo OR Devasini                              N/A
Griffin                                            RFP No. 54
Hack*                                              N/A
Heisenberg                                         N/A
https://tether.to/en/tether-update                 RFP Nos. 66, 67, 68
https://tether.to/en/transparency                  RFP Nos. 66, 67, 68
https://tether.to/faqs/                            RFP Nos. 66, 67, 68
Huobi                                              N/A

Illegal* AND (trad* OR manipul* OR inflat*)        RFP Nos. 18, 63

Indict* AND (Tether* OR USDT)                      RFP No. 1

Inflat* AND (Bitcoin OR ether OR crypto*)          RFP Nos. 7, 11, 14, 15

Insufficient w/5 (Tether OR USDT)                  RFP Nos. 7, 11, 14, 15
Investigat!                                        RFP No. 1
IOU                                                RFP No. 7, 51
Jail                                               N/A
Kraken                                             N/A
KuCoin                                             N/A
Launder*                                           N/A
Leibowitz                                          N/A
Litecoin*                                          N/A
Loan                                               N/A
Loan AND USDT                                      RFP Nos. 37, 71

Loan* w/10 (token OR “USDT” OR Tether)             RFP Nos. 37, 71

LOC                                                N/A
Ludovicus OR Velde                                 N/A

Manipulat* AND (bitcoin OR ether*) AND USDT        RFP Nos. 18, 63

MC-20-00018*                                       N/A
Merlin*                                            N/A
MEXC                                               N/A

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Michael w/2 Novogratz                                 N/A

Mint* w/15 ("USDT" OR Tether OR token)                RFP Nos. 4, 5, 59, 61, 62

Misrepresent* /15 (asset* OR backing OR reserve OR RFP Nos. 11, 12, 14, 15, 32,
liquid*)                                           65
Monero*                                               N/A
Monopol*                                              RFP No. 67
New w/5 (Tether OR USDT)                              RFP Nos. 7, 11, 14, 15
Nocoin*                                               N/A
OKEx                                                  N/A
Oliver w/2 Camponovo                                  N/A
Omniexplorer.info*                                    N/A
One-for-one                                           RFP Nos. 7, 11, 14, 15
Org* w/5 (chart OR structure)                         RFP No. 33
Oz w/2 Yosef                                          RFP No. 45
Peg* w/5 (Tether OR USDT)                             RFP Nos. 4, 5, 59, 61, 62
Pinchas w/2 (Goldshtein OR Goldstein)                 No specific RFP
                                                      RFP Nos. 9, 61, 62, 63, 64,
Poloniex                                              65
Ponzi                                                 N/A
Potter                                                N/A
Print w/3 money                                       RFP Nos. 4, 5, 59, 61, 62
print* w/5 (Tether or USDT)                           RFP Nos. 4, 5, 59, 61, 62
prop* w/3 up*                                         RFP No. 63
Pump*                                                 RFP No. 63
Purchas* w/5 (Tether OR USDT)                         RFP Nos. 4, 5, 59, 61, 62

Realcoin w/15 (equat* OR back* OR equal*) w/25
(dollar* OR bank* OR account* OR fiat OR              RFP No. 7, 14, 31
currenc* OR reserve* OR cash)

Reggie OR Reginald OR Fowler                          RFP No. 10
Releas* w/5 (Tether OR USDT)                          RFP Nos. 4, 5, 59, 61, 62

Reserv* w/15 (cash or liquid or currency or sufficient
                                                       RFP Nos. 7, 11, 14, 15
or insufficient or paper or illiquid)

Reserv* w/5 (Tether or USDT)                          RFP Nos. 7, 11, 14, 15
Roche OR RCF OR RF                                    N/A
Scam* /15 (USDT or Tether)                            N/A
SEC                                                   N/A
Skyrocket*                                            N/A
                                             17
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 (Spike* w/15 (demand or trad* OR price)) w/10
                                               RFP No. 63
 (Tether* OR USDT)

 (Spike* w/15 (demand or trad* OR price)) w/15
 (Bitcoin OR BTC OR Omni OR Eth* OR Tron OR
                                               RFP No. 63
 EOS OR Liquid* OR Algo* OR SLP OR Sol* OR
 Drop* OR Crash*)

 Suspicious* w/10 (Tether* OR USDT)                  RFP No. 63

 Suspicious* w/15 (Bitcoin OR BTC OR Omni OR
 Eth* OR Tron OR EOS OR Liquid* OR Algo* OR RFP No. 63
 SLP OR Sol* OR spike or increase)

 Tether w/2 (Pull* OR Push*)                         N/A
 Tether* w/3 ("Bank Account")                        N/A
 Tetherreport.com*                                   RFP No. 53
 Tokenised or tokenized                              N/A
 TOPSUN                                              N/A
 Trade* w/5 (Strategy OR Pattern)                    RFP Nos. 4, 5, 59, 61, 62

 Transfer* w/10 ("USDT" OR Tether OR token)          RFP Nos. 59, 63

 Transparen*                                         N/A
 Un-tether*                                          RFP No. 54
 Unauthorize*                                        N/A
 Unback*                                             RFP Nos. 7, 11, 14, 15
 Undisclos* /15 (relationship or connection or tie* or
                                                       RFP No. 60
 arrangement)
 Unfund*                                             RFP Nos. 7, 11, 14, 15
 Unilateral*                                         N/A
 Unpredictabl*                                       N/A
 Untether*                                           RFP No. 54
 UpBit                                               N/A
 Wash                                                N/A
 Whalepool*                                          N/A
 XT.com                                              N/A
 Zcash*                                              N/A


Daniel M. Stone
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                                             18
         Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 20 of 37
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From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Thursday, June 30, 2022 at 3:19 PM
To: Maya Jumper <mjumper@rochefreedman.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>
Cc: Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper, Michael
<mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
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<cbeal@dmablaw.com>, 'michael@mjllaw.com' <michael@mjllaw.com>, 'Bill Kraus'
<krausw@butzel.com>, Rosh, Samuel <sjrosh@debevoise.com>, Hahn, Ashley V.
<avhahn@debevoise.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

Maya,

Please see attached. On our June 22 call, Plaintiffs represented that they would identify the RFP(s) to
which each of your proposed search terms is purportedly tied. When can we expect to receive that?

Thanks,
Elliot




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copies of the e-mail. Thank you.



From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Wednesday, June 29, 2022 18:13
To: Greenfield, Elliot; Tether Litigation
Cc: Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie; Schlegelmilch, Stephan J;
'sahuja@dmablaw.com'; 'cbeal@dmablaw.com'; 'michael@mjllaw.com'; 'Bill Kraus'; Rosh, Samuel; Hahn,
Ashley V.
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236


                                                                  19
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Elliot,

During the Parties’ June 22, 2022 meet and confer, B/T Defendants represented that they would
respond to Plaintiffs’ June 3 time period proposal (February 1, 2015 through June 5, 2020, for all
discovery, with the exception of all documents relating to B/T Defendants’ issuance of USDT, including
the recipients of USDT and the amounts issued, and USDT backing, reserves, and collateral, which will be
produced through the date of collection) and Plaintiffs’ custodian proposal with a counterproposal by
Friday, June 24 or earlier this week at the latest. We have not received a counterproposal from B/T
Defendants on these two topics.

Based on the representations communicated by B/T Defendants during the June 22 meet and confer,
Plaintiffs understand the Parties to be at impasse with respect to disputes concerning: i) the time period
for B/T Defendants’ discovery production and ii) Plaintiffs’ proposed custodians. Please let us know
by COB tomorrow (6/30) if B/T Defendants disagree with Plaintiffs’ understanding of the status of the
Parties’ negotiations on these disputes.

Thanks,

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(@) mjumper@rochefreedman.com


From: Maya Jumper <mjumper@rochefreedman.com>
Date: Wednesday, June 15, 2022 at 6:34 PM
To: Greenfield, Elliot <egreenfield@debevoise.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>
Cc: Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper, Michael
<mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J <sjschlegelmilch@debevoise.com>,
'sahuja@dmablaw.com' <sahuja@dmablaw.com>, 'cbeal@dmablaw.com'
<cbeal@dmablaw.com>, 'michael@mjllaw.com' <michael@mjllaw.com>, 'Bill Kraus'
<krausw@butzel.com>, Rosh, Samuel <sjrosh@debevoise.com>, Hahn, Ashley V.
<avhahn@debevoise.com>
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

Thanks, Elliot. We’re available on June 22 at 3pm ET. Calendar invite to follow.

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From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Wednesday, June 15, 2022 at 2:46 PM
                                                    20
         Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 22 of 37

To: Maya Jumper <mjumper@rochefreedman.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>
Cc: Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper, Michael
<mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
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<cbeal@dmablaw.com>, 'michael@mjllaw.com' <michael@mjllaw.com>, 'Bill Kraus'
<krausw@butzel.com>, Rosh, Samuel <sjrosh@debevoise.com>, Hahn, Ashley V.
<avhahn@debevoise.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

Maya, we are unable to find a time that works for our team tomorrow or Friday, and Monday is a
holiday, but we are available anytime in the afternoon on Wednesday, June 22. Just let us know what
time works best on your end.

Thanks,
Elliot




Elliot Greenfield
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From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Tuesday, June 14, 2022 15:30
To: Greenfield, Elliot; Tether Litigation
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'sahuja@dmablaw.com'; 'cbeal@dmablaw.com'; 'michael@mjllaw.com'; 'Bill Kraus'; Rosh, Samuel; Hahn,
Ashley V.
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Elliot – following up regarding your availability this week.

Thanks,

Maya S. Jumper
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          Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 23 of 37
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From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Friday, June 10, 2022 at 1:54 PM
To: Maya Jumper <mjumper@rochefreedman.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>
Cc: Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper, Michael
<mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J <sjschlegelmilch@debevoise.com>,
'sahuja@dmablaw.com' <sahuja@dmablaw.com>, 'cbeal@dmablaw.com'
<cbeal@dmablaw.com>, 'michael@mjllaw.com' <michael@mjllaw.com>, 'Bill Kraus'
<krausw@butzel.com>, Rosh, Samuel <sjrosh@debevoise.com>, Hahn, Ashley V.
<avhahn@debevoise.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

Maya, we’ll compare calendars and get back to you. Thanks.




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copies of the e-mail. Thank you.



From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Thursday, June 09, 2022 15:34
To: Greenfield, Elliot; Tether Litigation
Cc: Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie; Schlegelmilch, Stephan J;
'sahuja@dmablaw.com'; 'cbeal@dmablaw.com'; 'michael@mjllaw.com'; 'Bill Kraus'; Rosh, Samuel; Hahn,
Ashley V.
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Elliot,

We would like to schedule another meet and confer next week to discuss outstanding discovery issues.
Please let us know your availability.

Thanks,

Maya S. Jumper
Associate
                                                                  22
      Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 24 of 37
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From: Maya Jumper <mjumper@rochefreedman.com>
Date: Friday, June 3, 2022 at 8:36 PM
To: Greenfield, Elliot <egreenfield@debevoise.com>, Tether Litigation
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<cbeal@dmablaw.com>, 'michael@mjllaw.com' <michael@mjllaw.com>, 'Bill Kraus'
<krausw@butzel.com>, Rosh, Samuel <sjrosh@debevoise.com>, Hahn, Ashley V.
<avhahn@debevoise.com>
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

Counsel:

Please see attached.

Thanks,

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From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Wednesday, May 18, 2022 at 7:45 PM
To: Maya Jumper <mjumper@rochefreedman.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>
Cc: Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper, Michael
<mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
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<cbeal@dmablaw.com>, 'michael@mjllaw.com' <michael@mjllaw.com>, 'Bill Kraus'
<krausw@butzel.com>, Rosh, Samuel <sjrosh@debevoise.com>, Hahn, Ashley V.
<avhahn@debevoise.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

Counsel,

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Following up on our discussion of document custodians, the B/T Defendants do not have organizational
charts that contain a complete list of officers and employees. Based on the B/T Defendants’
interrogatory responses, they are providing titles and dates of employment for the following individuals:

1.          Paolo Ardoino, Chief Technology Officer, 2015‐present
2.          Julian Arriagada, Compliance Officer, 2018‐present
3.          Bill Brindise, Head of OTC, 2015‐present
4.          Adam Chamely, Developer, 2015‐present
5.          Amy Churchill, Director of Finance, 2018‐2022
6.          Giancarlo Devasini, Chief Financial Officer, 2015‐present
7.          Silvano Di Stefano, Chief Investment Officer, 2019‐present
8.          Stuart Hoegner, General Counsel, 2015‐present
9.          John Kloosterman, Head of Banking, 2015‐present
10.         Grzegorz Opalinski, Middle & Back Office Services Manager, 2020‐present
11.         Phil Potter, Chief Strategy Officer of Bitfinex, 2015‐2018
12.         Leonardo Real, Chief Compliance Officer, 2018‐present
13.         Craig Sellers, Co‐Founder & former CTO, 2014‐2016
14.         Ludovicus Jan van der Velde, Chief Executive Officer, 2015‐present

Thanks,
Elliot




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From: Greenfield, Elliot
Sent: Tuesday, May 17, 2022 19:27
To: 'Maya Jumper'; Tether Litigation
Cc: Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie; Schlegelmilch, Stephan J;
'sahuja@dmablaw.com'; 'cbeal@dmablaw.com'; 'michael@mjllaw.com'; 'Bill Kraus'
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Please see attached.

Thanks,
Elliot




Elliot Greenfield

                                                                  24
          Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 26 of 37
Partner
egreenfield@debevoise.com
+1 212 909 6772 (Tel)
919 Third Avenue
New York, NY 10022
www.debevoise.com


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message in your reply) and by telephone (you may call us collect in New York at 1-212-909-6000) and then delete and discard all
copies of the e-mail. Thank you.



From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Monday, May 16, 2022 13:51
To: Greenfield, Elliot; Tether Litigation
Cc: Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie; Schlegelmilch, Stephan J;
'sahuja@dmablaw.com'; 'cbeal@dmablaw.com'; 'michael@mjllaw.com'; 'Bill Kraus'
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Elliot,

We are available to meet and confer this Thursday, May 19 at noon ET regarding any remaining disputes
from the parties’ May 11 meet and confer.

During the May 11 meet and confer, counsel stated that B/T Defendants intended to respond with a
counterproposal to several revised RFPs included in Plaintiffs’ May 6 letter. Please let us know if we can
expect to receive that prior to the next meet and confer.

Thanks,

Maya S. Jumper
Associate
Roche Freedman LLP
99 Park Avenue, Suite 1910
New York, New York 10016
(t) (646) 970-7524
(@) mjumper@rochefreedman.com


From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Monday, May 9, 2022 at 5:17 PM
To: Maya Jumper <mjumper@rochefreedman.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>
Cc: Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper, Michael
<mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J <sjschlegelmilch@debevoise.com>,
'sahuja@dmablaw.com' <sahuja@dmablaw.com>, 'cbeal@dmablaw.com'
<cbeal@dmablaw.com>, 'michael@mjllaw.com' <michael@mjllaw.com>, 'Bill Kraus'
<krausw@butzel.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

Please see the attached letter.
                                                                  25
          Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 27 of 37


Thanks,
Elliot




Elliot Greenfield
Partner
egreenfield@debevoise.com
+1 212 909 6772 (Tel)
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New York, NY 10022
www.debevoise.com


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copies of the e-mail. Thank you.



From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Friday, May 06, 2022 19:42
To: Greenfield, Elliot; Tether Litigation
Cc: Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie; Schlegelmilch, Stephan J;
'sahuja@dmablaw.com'; 'cbeal@dmablaw.com'; 'michael@mjllaw.com'; 'Bill Kraus'
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Elliot,

Please see the attached correspondence.

Maya S. Jumper
Associate
Roche Freedman LLP
99 Park Avenue, Suite 1910
New York, New York 10016
(t) (646) 970-7524
(@) mjumper@rochefreedman.com


From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Monday, May 2, 2022 at 11:27 AM
To: Maya Jumper <mjumper@rochefreedman.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>
Cc: Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper, Michael
<mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J <sjschlegelmilch@debevoise.com>,
'sahuja@dmablaw.com' <sahuja@dmablaw.com>, 'cbeal@dmablaw.com'
<cbeal@dmablaw.com>, 'michael@mjllaw.com' <michael@mjllaw.com>, 'Bill Kraus'
<krausw@butzel.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

                                                                  26
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Thanks.




Elliot Greenfield
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From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Monday, May 02, 2022 11:20
To: Greenfield, Elliot; Tether Litigation
Cc: Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie; Schlegelmilch, Stephan J;
'sahuja@dmablaw.com'; 'cbeal@dmablaw.com'; 'michael@mjllaw.com'; 'Bill Kraus'
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Elliot,

That works for us. We’ll circulate an invite shortly.

Maya S. Jumper
Associate
Roche Freedman LLP
99 Park Avenue, Suite 1910
New York, New York 10016
(t) (646) 970-7524
(@) mjumper@rochefreedman.com


From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Sunday, May 1, 2022 at 11:46 AM
To: Maya Jumper <mjumper@rochefreedman.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>
Cc: Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper, Michael
<mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J <sjschlegelmilch@debevoise.com>,
'sahuja@dmablaw.com' <sahuja@dmablaw.com>, 'cbeal@dmablaw.com'
<cbeal@dmablaw.com>, 'michael@mjllaw.com' <michael@mjllaw.com>, 'Bill Kraus'
<krausw@butzel.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

Maya, does Wednesday, May 11 at 12:30pm ET work on your end? Thanks.

                                                                  27
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Elliot Greenfield
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From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Thursday, April 28, 2022 17:47
To: Greenfield, Elliot; Tether Litigation
Cc: Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie; Schlegelmilch, Stephan J;
'sahuja@dmablaw.com'; 'cbeal@dmablaw.com'; 'michael@mjllaw.com'; 'Bill Kraus'
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Elliot,

We will provide a written response to your letter shortly along with two sets of proposed search terms
to be run by Plaintiffs and B/T Defendants, respectively.

In the meantime, we’d like to schedule a third meet and confer for the week of May 9‐13. Can you
propose some dates that work on your end?

Thanks,

Maya S. Jumper
Associate
Roche Freedman LLP
99 Park Avenue, Suite 1910
New York, New York 10016
(t) (646) 970-7524
(@) mjumper@rochefreedman.com


From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Thursday, April 28, 2022 at 10:54 AM
To: Maya Jumper <mjumper@rochefreedman.com>, Tether Litigation
<Tether_Litigation@rochefreedman.com>
Cc: Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper, Michael
<mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J <sjschlegelmilch@debevoise.com>,
'sahuja@dmablaw.com' <sahuja@dmablaw.com>, 'cbeal@dmablaw.com'
<cbeal@dmablaw.com>, 'michael@mjllaw.com' <michael@mjllaw.com>, 'Bill Kraus'
<krausw@butzel.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

                                                                  28
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[EXTERNAL SENDER]

Please see the attached letter.

Thanks,
Elliot




Elliot Greenfield
Partner
egreenfield@debevoise.com
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New York, NY 10022
www.debevoise.com


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From: Greenfield, Elliot
Sent: Sunday, April 10, 2022 20:55
To: 'Maya Jumper'; Tether Litigation
Cc: Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie; Schlegelmilch, Stephan J;
sahuja@dmablaw.com; cbeal@dmablaw.com; michael@mjllaw.com; Bill Kraus
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Counsel,

Following up on our call on Friday, please see the following webpage on the Tether
website: https://tether.to/en/tether‐issuance‐primer/. It explains the processes of authorization,
issuance, redemption and destruction, as well as how those stages relate to Tether reserves. As
discussed, we hope this clarifies the applicable terminology and allows you to clarify, revise or withdraw
certain of Plaintiffs’ RFPs.

Thanks,
Elliot




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Partner
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copies of the e-mail. Thank you.



From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Monday, April 04, 2022 21:06
To: Greenfield, Elliot
Cc: Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke, Melanie; Schlegelmilch, Stephan J;
sahuja@dmablaw.com; cbeal@dmablaw.com; michael@mjllaw.com; Bill Kraus; Tether Litigation
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

We’ve made arrangements on our end to make 1pm ET on Friday work. An invite will be circulated
shortly.

Maya S. Jumper
Associate
Roche Freedman LLP
99 Park Avenue, Suite 1910
New York, New York 10016
(t) (646) 970-7524
(@) mjumper@rochefreedman.com


From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Monday, April 4, 2022 at 6:53 PM
To: Maya Jumper <mjumper@rochefreedman.com>
Cc: Ceresney, Andrew J. <aceresney@debevoise.com>, Schaper, Michael
<mschaper@debevoise.com>, O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J <sjschlegelmilch@debevoise.com>,
sahuja@dmablaw.com <sahuja@dmablaw.com>, cbeal@dmablaw.com
<cbeal@dmablaw.com>, michael@mjllaw.com <michael@mjllaw.com>, Bill Kraus
<krausw@butzel.com>, Tether Litigation <Tether_Litigation@rochefreedman.com>
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

Any later? Some of our group is on Pacific time?

Sent from my iPhone


          On Apr 4, 2022, at 6:51 PM, Maya Jumper <mjumper@rochefreedman.com> wrote:


          10am on Friday works on our end.

          Maya S. Jumper
          Associate
          Roche Freedman LLP
          99 Park Avenue, Suite 1910
          New York, New York 10016
          (t) (646) 970-7524
          (@) mjumper@rochefreedman.com



                                                               30
Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 32 of 37

From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Monday, April 4, 2022 at 5:45 PM
To: Maya Jumper <mjumper@rochefreedman.com>, Ceresney, Andrew J.
<aceresney@debevoise.com>, Schaper, Michael <mschaper@debevoise.com>,
O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J
<sjschlegelmilch@debevoise.com>, sahuja@dmablaw.com
<sahuja@dmablaw.com>, cbeal@dmablaw.com <cbeal@dmablaw.com>,
michael@mjllaw.com <michael@mjllaw.com>, 'Bill Kraus' <krausw@butzel.com>
Cc: Tether Litigation <Tether_Litigation@rochefreedman.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

I’m away all next week. Is there another time on Friday that works for you?




Elliot Greenfield
Partner
egreenfield@debevoise.com
+1 212 909 6772 (Tel)
919 Third Avenue
New York, NY 10022
www.debevoise.com


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(you may call us collect in New York at 1-212-909-6000) and then delete and discard all copies of the e-mail.
Thank you.



From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Monday, April 04, 2022 17:36
To: Greenfield, Elliot; Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke,
Melanie; Schlegelmilch, Stephan J; sahuja@dmablaw.com; cbeal@dmablaw.com;
michael@mjllaw.com; 'Bill Kraus'
Cc: Tether Litigation
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Unfortunately, Friday at 1pm doesn’t work on our end. Are you available on Monday,
April 11 between noon‐4pm?

Thanks,

Maya S. Jumper
Associate
Roche Freedman LLP
99 Park Avenue, Suite 1910
New York, New York 10016
(t) (646) 970-7524
(@) mjumper@rochefreedman.com

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From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Monday, April 4, 2022 at 3:47 PM
To: Maya Jumper <mjumper@rochefreedman.com>, Ceresney, Andrew J.
<aceresney@debevoise.com>, Schaper, Michael <mschaper@debevoise.com>,
O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J
<sjschlegelmilch@debevoise.com>, sahuja@dmablaw.com
<sahuja@dmablaw.com>, cbeal@dmablaw.com <cbeal@dmablaw.com>,
michael@mjllaw.com <michael@mjllaw.com>, 'Bill Kraus' <krausw@butzel.com>
Cc: Tether Litigation <Tether_Litigation@rochefreedman.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

Maya, we are free on Friday at 1pm if that works on your end. Thanks.




Elliot Greenfield
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(you may call us collect in New York at 1-212-909-6000) and then delete and discard all copies of the e-mail.
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From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Monday, April 04, 2022 13:05
To: Greenfield, Elliot; Ceresney, Andrew J.; Schaper, Michael; O'Connor, Maeve; Burke,
Melanie; Schlegelmilch, Stephan J; sahuja@dmablaw.com; cbeal@dmablaw.com;
michael@mjllaw.com; 'Bill Kraus'
Cc: Tether Litigation
Subject: Re: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Elliot,

Thanks for a productive initial discussion last week. Please provide your availability for a
call to discuss the remaining topics from the March 31 meet and confer.

Best,

Maya S. Jumper
Associate
Roche Freedman LLP
99 Park Avenue, Suite 1910
                                                       32
Case 1:19-cv-09236-KPF Document 220-2 Filed 07/28/22 Page 34 of 37

New York, New York 10016
(t) (646) 970-7524
(@) mjumper@rochefreedman.com


From: Greenfield, Elliot <egreenfield@debevoise.com>
Date: Tuesday, March 29, 2022 at 6:26 PM
To: Maya Jumper <mjumper@rochefreedman.com>, Ceresney, Andrew J.
<aceresney@debevoise.com>, Schaper, Michael <mschaper@debevoise.com>,
O'Connor, Maeve <mloconnor@debevoise.com>, Burke, Melanie
<mburke@debevoise.com>, Schlegelmilch, Stephan J
<sjschlegelmilch@debevoise.com>, sahuja@dmablaw.com
<sahuja@dmablaw.com>, cbeal@dmablaw.com <cbeal@dmablaw.com>,
michael@mjllaw.com <michael@mjllaw.com>, 'Bill Kraus' <krausw@butzel.com>
Cc: Tether Litigation <Tether_Litigation@rochefreedman.com>
Subject: RE: In re Tether and Bitfinex Crypto Asset Litig., No. 19‐CV‐09236

[EXTERNAL SENDER]

Please see the attached letter. We look forward to speaking on Thursday.

Thanks,
Elliot




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Partner
egreenfield@debevoise.com
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From: Maya Jumper [mailto:mjumper@rochefreedman.com]
Sent: Tuesday, March 22, 2022 15:17
To: Ceresney, Andrew J.; Greenfield, Elliot; Schaper, Michael; O'Connor, Maeve; Burke,
Melanie; Schlegelmilch, Stephan J; sahuja@dmablaw.com; cbeal@dmablaw.com;
michael@mjllaw.com
Cc: Tether Litigation
Subject: In re Tether and Bitfinex Crypto Asset Litig., No. 19-CV-09236

Counsel:

Please see the attached correspondence.

Regards,
                                                       33
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          Maya Jumper

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